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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:10CR3085-2
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )          ORDER
FABIAN ANTILLON-ESTRADA,                     )
                                             )
                     Defendant.              )



       On the defendant’s oral motion, and without objection by the plaintiff,


       IT IS ORDERED that:


       (1)    Defendant Antillon-Estrada’s sentencing is continued to Tuesday, November
29, 2011, at 12:30 p.m., before the undersigned United States district judge, in Courtroom
No. 1, 5 th Floor, Robert V. Denney United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be present unless
excused by the court.


       (2)    In light of the rescheduling, the defendant’s objection to presentence
investigation report (filing 150) and any related motion for departure or variance will be
resolved at sentencing.


       Dated September 20, 2011.


                                          BY THE COURT:

                                          Richard G. Kopf
                                          United States District Judge
